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 1
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 8
                        IN THE UNITED STATES DISTRICT COURT
 9

10
                              FOR THE DISTRICT OF ARIZONA

11   United States of America,                    No. 18-CR-01537-TUC-RM(BPV)
12
                              Plaintiff,           EMERGENCY MOTION FOR
13
                                                   TEMPORARY RESTRAINING
14          vs.                                   ORDER CONCERNING SEARCH
                                                    WARRANT EXECUTED ON
15
     Rafael Gallego et al.,                       AUGUST 8, 2018 & EMERGENCY
16                                                 MOTION FOR APPOINTMENT
17
                            Defendant.               OF SPECIAL MASTER

18

19          The defendant, through his attorneys undersigned, hereby moves for an
20
     emergency Temporary Restraining Order (“TRO”) concerning the search warrant
21
     executed at the offices of the Gallego Law Firm on August 8, 2018.
22

23                    MEMORANDUM OF POINTS AND AUTHORITIES
24
     I.     INTRODUCTION
25

26          On August 8, 2018, the government raided attorney Rafael Gallego’s law
27
     office and seized a large number of documents, including several active case files
28




                                              1
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 1   and computers belonging to clients of Mr. Gallego. Counsel undersigned spoke
 2
     with the government and requested the seized materials remain untouched until an
 3

 4   independent review could be conducted to determine whether any non-
 5
     discoverable (i.e. subject to the attorney-client privilege) were contained therein.
 6

 7
     The government indicated it would not delay reviewing the seized materials and

 8   would decide for itself which documents were privileged and which were not, in
 9
     accordance with a procedure “approved by Washington.”             The government
10

11   indicated it would deviate from that procedure absent a court order.1
12
           Accordingly, Mr. Gallego brings this emergency motion requesting that the
13

14
     Court order the following in an expedited ruling:

15         (1) That all seized items be made available to the defense to review all
16             documents in the first instance and that all responsive, non-privileged
               items be disclosed to the government;
17

18         (2) That a Special Master be appointed to oversee the defense review of the
               seized documents;
19

20         (3) That the government be temporarily restrained from reviewing any of the
21
               seized documents until this Court rules on this motion; and

22         (4) That the search warrant(s), search warrant inventor(ies), and other court
23             documents pertaining to the search remain under seal until the Court
               rules on this motion.2
24

25
     1
26    See infra for discussion of the Department of Justice (“DOJ”) practice of using a
27
     so-called “taint team” to review seized attorney materials.
      
     2
28    The U.S. Attorney’s Office for the Western District of Texas took it upon itself to
     issue a “press release” to the local news media here in Tucson, which has led to


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 1            Mr. Gallego has been a member of the State Bar of Arizona for nearly three
 2
     decades. He has does have a prior disciplinary history owing to a substance abuse
 3

 4   issue, long since resolved, and has been a member in good standing ever since.
 5
     The government elected to have Mr. Gallego arrested outside the Pima County
 6

 7
     Superior Court on his way to Day Two of an active jury trial before the Honorable

 8   Javier Chon-Lopez.3 Federal agents used a battering ram on the unlocked doors of
 9
     his law office and detained his legal secretary at gunpoint. A full tactical team
10

11   hauled numerous cases files, work computers, and hard drives out of his office.
12
     The government’s unreasonable search and seizure of these materials carries a
13

14
     substantial risk of infringing upon the attorney-client privilege and attorney-work

15   product doctrine. There is no question that the government is now in possession of
16
     a significant amount of privileged information, much of which is wholly unrelated
17

18   to its current investigation of Mr. Gallego.
19
              For these reasons, Mr. Gallego moves for an emergency TRO to enjoin the
20

21
     government from reviewing any of the seized materials seized from his law office

22   to allow for an independent review for privilege and responsiveness. It is further
23
     requested that this Court appoint a Special Master to review the items seized in the
24

25   first instance for privilege and responsiveness to the search warrants. Finally, the
26
     extensive media attention to this case and a focus upon the court documents
27
     themselves.
28
     3
         Judge Chon-Lopez had to declare a mistrial as a result.


                                                 3
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 1   defense requests that the warrant(s) and their inventor(ies) be kept under seal to
 2
     protect the privacy interests of Mr. Gallego and the third-parties referenced in the
 3

 4   seized materials. Given the high-profile nature of this prosecution, owing in part to
 5
     the government’s unnecessarily dramatic arrest and press release to the media,
 6

 7
     releasing these court documents publicly would subject Mr. Gallego and those

 8   third-parties referenced therein to unnecessary and undue harassment from the
 9
     media and the public.
10

11   II.   STATEMENT OF FACTS
12
           Mr. Gallego has been an attorney in Arizona for nearly 30 years. He was
13

14
     first admitted to practice in 1991 and his license is in good standing. He was a

15   Deputy Pima County Attorney until 1993 and been in private practice as a criminal
16
     defense attorney ever since. In the course of his practice, he represents clients in
17

18   state and federal prosecutions. He has used various means to engage in privileged
19
     communications with his clients, including but not limited to letters, emails,
20

21
     telephone calls, and text messages. Mr. Gallego also has used both paper and

22   electronic files to document and facilitate his legal work on behalf of his clients. It
23
     goes without saying that these materials contain highly-sensitive privileged and
24

25   confidential information.
26

27

28




                                                4
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 1         On the morning of August 8, 2018, federal agents arrested Mr. Gallego on
 2
     his way into the Pima County Superior Court.4 Shortly thereafter, a tactical team
 3

 4   raided his law office, located at 1016 East Pennsylvania Street in the Tucson.
 5
     Despite his law office being open to the public and during business hours, agents
 6

 7
     utilized a battering ram on the front doors. The battering ram proved ineffective on

 8   account of the door being completely unlocked. Tactical agents armed with assault
 9
     rifles stormed in and, at gunpoint, ordered Mr. Gallego’s legal secretary to the
10

11   ground. She was handcuffed and removed from the building to sit, shackled, for
12
     more than 90 minutes. Agents hauled off numerous materials during the search,
13

14
     including documents, records, and communications protected by the attorney-client

15   privilege and/or the attorney-work product doctrine, many of which pertain to
16
     clients with pending federal cases. Agents also seized Mr. Gallego’s cellular
17

18   device. In addition to privileged materials, the government seized some documents
19
     and communications that are highly personal and private in nature. For example,
20

21
     agents seized entire computer terminals, which likely contain personal

22   communications between Mr. Gallego and his wife, family photos, medical
23
     documents, etc., that are not relevant to the investigation and are particularly
24

25   personal and private.
26

27   4
      It remains unclear why he was not simply summonsed into District Court, as is
28   common in situations where, as here, a defendant will gladly voluntarily present
     themselves in court to answer the charges levied against him/her.


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 1   III.   LAW AND ARGUMENT
 2
            Law office searches raise special concerns that requires a need for
 3

 4   heightened care, given that law offices often contain privileged attorney-client
 5
     materials and work product. See United States v. Derman, 211 F.3d 175, 181 (1st
 6

 7
     Cir. 2000) (collecting cases); DeMassa v. Nunez, 770 F.2d 1505 (9th Cir. 1985)

 8   (enhanced privacy interest underlying attorney-client with relationship warrants
 9
     heightened degree of judicial protection and supervision when law offices are
10

11   subject of search); see also; Klitzman v. Krut, 744 F.2d 955, 958 (3d Cir. 1984);
12
     Nat’l City Trading Corp. v. United States, 635 F.2d 1020, 1026 (2d Cir. 1980).
13

14
            In recognition of these concerns, the United States Attorney’s Manual

15   (“USAM”) sets forth specific procedures for conducting such a search. USAM §
16
     9-13.220; USAM § 9-13.420. One such procedure is to appoint a Special Master
17

18   to review documents seized from a law office. See USAM § 9-13.420(F); see also
19
     United States v. Stewart, 02-CR-396 (JGK), 2002 WL 1300059, *4 (S.D.N.Y. June
20

21
     11, 2002). In this case, given the sensitive nature of the seized materials and the

22   fact that many of the materials are privileged, protected by the attorney-work
23
     product doctrine, and/or concern confidential matters unrelated to the
24

25   government’s case, this Court should grant the motion and allow either Mr.
26
     Gallego’s defense attorneys or a Special Master (or both) conduct the initial review
27

28
     of the seized materials.



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 1         A. The Appointment of a Special Master, Generally
 2
          Case law supports the appointment of a Special Master to supervise the
 3

 4   review and/or conduct an independent review of materials seized from lawyers
 5
     and/or law firms to preserve the attorney-client privilege. In Stewart, the FBI and
 6

 7
     the NYPD executed a warrant at the defendant’s law office in Manhattan. 2002

 8   WL 1300059. The search was conducted by a special team of investigators that
 9
     had been walled-off from the prosecution team in order to prevent the prosecution
10

11   from viewing privileged materials or learning any privileged information that was
12
     uncovered on-site during the search. Id. at *3. The search was limited to areas
13

14
     used by the defendant, and materials from offices of other attorneys were not

15   searched. Id. Among the items seized from the defendant were:
16
                 [C]opies of hard drives of the computer in the common
17
                 area, the computer in the paralegal’s office, and the
18               networking hardware from the common area, all of which
                 had also been used to perform legal work for clients of
19
                 other attorneys in the suite or for clients of the defendant
20               who were not identified in the warrant and who likely
21
                 have no relation to this case.

22   Id. The legal question presented to the District Court was whether “a Special
23
     Master [should] perform an initial review of the seized materials…or [whether] a
24

25   government privilege team [should] do it, as the government proposes.” Id. at *4.
26
     The District Court rejected the government’s proposal, appointed a Special Master
27

28
     to review the documents seized from the law office, and granted the Special Master



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 1   authority to determine responsiveness, privilege issues, and whether any valid
 2
     exceptions to the privilege existed. Id. at *10.
 3

 4         In so doing, the Stewart Court cited three decisions where courts had
 5
     “allowed for review by a government privilege team” and later “opined, in
 6

 7
     retrospect, that the use of other methods of review would have been better.” Id. at

 8   *6, citing United States v. Skeddle, 989 F. Supp. 980, 896-97 (N.D. Ohio 1997)
 9
     (“by hindsight, a safer course would have been to have given notice to . . . the
10

11   lawyers whose offices were searched to show cause within a specific period why
12
     the materials should not be released to the government”); United States v. Hunter,
13

14
     13 F. Supp. 2d 574, 583 n.2 (D. Vt. 1998) (“It may have been preferable for the

15   screening of potentially privileged records to be left not to a prosecutor behind a
16
     “Chinese Wall,” but to a Special Master or the magistrate judge”); United States v.
17

18   Neill, 952 F. Supp. 834, 841 n.14 (D.D.C. 1997) (indicating that “the more
19
     traditional alternative[]” is to “submit[] disputed documents under seal for in
20

21
     camera review by a neutral and detached magistrate or by court-appointed special

22   masters”) (collecting cases where in camera review was utilized).
23
           In this case, during discussions between the prosecutor and counsel
24

25   undersigned on August 8, 2018, the government proposed allowing its agents to
26
     pour through the seized materials. Another prosecutor from the U.S. Attorney’s
27

28
     Office for the Western District of Texas-El Paso Division, would determine what



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 1   was privileged and what was not.       This proposed procedure is unacceptable.
 2
     Though the defense does not doubt that the prosecutors will take their ethical
 3

 4   obligations very seriously, the idea of another prosecutor (in the same office, no
 5
     less) serving as the “filter” does little to assuage the legitimate concerns of
 6

 7
     attorney-defendants and their clients regarding whether the attorney-client

 8   privilege and work-product doctrine will remain sacred.           This concern is
 9
     particularly heightened where, as here, an attorney-defendant represents clients in
10

11   pending criminal matters.
12
           The government’s proposed course of action inherently invades these
13

14
     privileges because the use of a “taint team” does not prevent the government from

15   reviewing attorney-client privileged documents—it merely “changes the identity of
16
     the government attorneys and agents who first review that information.” See Loren
17

18   Weiss & Gregory S. Osborne, Taint Teams and the Attorney-Client Privilege,
19
     American Bar Association (Dec. 2015) (internal citations omitted). Indeed, such
20

21
     practices have been called into question because government agents and

22   investigators cannot realistically be expected to ignore material simply because it
23
     was not responsive to a search warrant or contained privileged material:
24

25               Government attorneys and investigators serving on the
                 Taint Team cannot reasonably be expected to ignore
26
                 evidence of other crimes they may find in reviewing a
27               criminal defendant’s privileged documents.        The
28
                 conscious knowledge of other crimes could lead



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 1                investigators to unconsciously alter the course of the
 2                investigation and prosecution for other criminal matters.
 3
     Id. at 5; see also In re Grand Jury Subpoenas 04-124-03 and 04-124-05, 454 F.3d
 4
     511, 523 (6th Cir. 2006) (in directing that special master be appointed, district
 5

 6   court discussed the “inevitable” risks taint teams present to privilege and pointed
 7
     out that they have been “implicated in the past in leaks of confidential information
 8

 9   to prosecutors”).
10
           Courts have found it particularly necessary to protect privileged materials
11
     seized from law firms and lawyers in a manner that is “not only . . . fair but also
12

13   appear[s] to be fair.” Stewart, 2002 WL 1300059 at *8. This is because “the
14
     appearance of fairness helps to protect the public confidence in the administration
15

16   of justice and the willingness of clients to consult with their attorneys.” Id. If the
17
     government is permitted to raid law firms and then decide for itself which
18
     documents are privileged, it would significantly diminish the “public’s confidence
19

20   in the administration of justice and the willingness of clients to consult with their
21
     attorneys.” Id.; Neill, 952 F. Supp. at 834 n.14 (“There is no doubt that, at the very
22

23   least, the ‘taint team’ procedures create an appearance of unfairness.”). Such
24
     concerns are certainly heightened in the instant case, where media coverage will be
25
     ubiquitous. And given the dramatic approach the government took in commencing
26

27   this case—which included arresting Mr. Gallego outside a public courthouse
28
     during a multi-day trial, ramming down the door of his office during business


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 1   hours and detaining his staff member at gunpoint, as well as issuing a press release
 2
     to the media to drum up attention for the case—it is quite frankly in the
 3

 4   government’s own interests to have a Special Master appointed to maintain at least
 5
     an appearance of fairness.
 6

 7
           There is ample authority and precedent for allowing Mr. Gallego’s defense

 8   counsel to review the seized materials for privileged documents or, in the
 9
     alternative, appointing a Special Master such procedure. In fact, some courts have
10

11   even ordered the complete return of documents seized from law offices. For
12
     instance, the District Court of Kansas has ordered the government to return
13

14
     documents seized from an attorney, pursuant Fed. R. Crim. P. 41, to protect the

15   attorney-client privilege, concluding:
16
                  [A]n invasion of the attorney-client privilege through a
17
                  search and seizure generates and injury to the possessor
18                of the privilege—in this case the movants. . . The seizure
                  of materials protected by the attorney-client privilege in
19
                  this case gives rise to irreparable injury to the movants.
20                The basis of the attorney-client privilege is to protect
21
                  confidential communications between client and
                  attorney. If the privileged communications materials are
22                permitted to remain in the hands of the government it is
23                apparent to the court that any confidentiality of the
                  communication involved may well be lost, and the
24
                  movants will be effectively denied the protection of the
25                privilege. Once lost, confidentiality cannot be restored.
26
     In re Matter of 636 S. 66th Terrance, 835 F. Supp. 1304, 1306 (D. Kan. 1993).
27

28
     Similarly, the Third Circuit affirmed a decision to return files seized from a law



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 1   office pursuant to a search warrant, concluding that the government “completely
 2
     disregarded any concept of the attorney-client privilege” because the files it
 3

 4   “searched for and seized pursuant to the warrants constituted the existing records
 5
     for an entire law practice.” Klitzman, 744 F.2d at 961.
 6

 7
           The same is true here. As in Stewart, files and communications belonging to

 8   a number of clients—many of which are not responsive to or in any way relevant
 9
     to the categories of evidence identified in the warrant—have been seized by the
10

11   government. Indeed, agents seized entire computer towers filled with case files,
12
     new and old, from Mr. Gallego’s law office. See Stewart, 2002 WL 1300059 at *7
13

14
     (“the computer materials seized are likely to contain a broad range of files and

15   information that are not in any way responsive to the warrant”). As noted above,
16
     the computers also likely contain highly personal communications between Mr.
17

18   Gallego and his family and other private records not germane to this case. Suffice
19
     it to say that much of this information is privileged and most, if not all, is
20

21
     completely outside the scope of this investigation.

22         Given the sensitivity of the materials seized and the high-profile nature of
23
     this case, the most prudent course of action is to either allow counsel undersigned’s
24

25   law firm to handle the review and production of documents or to appoint a Special
26
     Master. Such an appointment has recently been successfully employed in the
27

28
     Michael Cohen-Donald Trump criminal investigation and would ensure fairness,



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 1   respect for the attorney-client privilege, and “protect the public’s confidence in the
 2
     administration of justice and the willingness of clients to consult with their
 3

 4   attorneys.” Stewart, 2002 WL 1300059 at *8.
 5
            B. The USAM Also Supports Appointing a Special Master
 6

 7
           The USAM sets forth special considerations to be employed when a search is

 8   executed upon a lawyer and/or a law firm. The policies contained in the USAM
 9
     support the conclusion that the search warrant was unnecessary here, let alone the
10

11   use of a tactical team. A simple subpoena would have sufficed. The USAM also
12
     provides support for the appointment of a Special Master.
13

14
            The USAM states that in situations where, as here, a search necessitates

15   collecting an attorney’s client files, a “judicial officer” or “special master” should
16
     conduct the document review. USAM § 9-13.400. Because of the “potential
17

18   effects of this type of search on legitimate attorney-client relationships,” the
19
     USAM supports Mr. Gallego’s motion for appointment Special Master in this case.
20

21
     Id.   Mr. Gallego’s defense attorneys are in the best position to review the

22   documents for responsiveness and privilege, but Mr. Gallego is absolutely
23
     comfortable with an independent Special Master—and not the government itself—
24

25   reviewing the seized materials instead.
26
           Therefore, under these exceptional circumstances, the facts presented, the
27

28
     sensitive nature of the seized documents, and the sheer amounts of privileged



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 1   materials contained therein, a TRO is necessary to enjoin the government from
 2
     sifting through the materials until this Court has ruled on this motion.
 3

 4          C. The Government Seized Unrelated Active Case Materials
 5
            As discussed above, the government seized numerous computers and hard
 6

 7
     drives from Mr. Gallego’s office. Many of those files stored thereupon must be

 8   returned to him so he can continue to represent these clients. Mr. Gallego owes an
 9
     affirmative duty to his clients—a duty he takes extremely seriously—to represent
10

11   them ethically and effectively. Those clients, in turn, have a constitutional right to
12
     competent representation by Mr. Gallego. Thus, because the government seized
13

14
     electronic records which contain numerous electronic records pertaining to untold

15   numbers of pending, active criminal cases, it has a duty to return those peripherals
16
     to Mr. Gallego as quickly as possible to ensure no further damage is done to Mr.
17

18   Gallego’s representation of his clients in other, unrelated cases. The appointment
19
     of a Special Master in this case will further facilitate resolving these issues quickly
20

21
     and expeditiously.

22   IV.    CONCLUSION
23
            Based on the foregoing, this emergency motion should be granted. This
24

25   Court should immediately issue a TRO enjoining the government from inspecting
26
     the seized materials in this case. If this Court is disinclined to allow counsel
27

28
     undersigned’s law firm conduct the review for privilege and responsiveness, this



                                               14
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 1   Court should appoint a Special Master to determine what materials are privileged
 2
     and/or subject to the attorney-work product doctrine.
 3

 4        RESPECTFULLY SUBMITTED this 9th day of August, 2018.
 5

 6

 7
                                           Law Office of
                                           HERNANDEZ & HAMILTON, PC
 8

 9
                                           /s/Joshua F. Hamilton
10
                                           JOSHUA F. HAMILTON
11                                         Attorney for Defendant
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 1                           CERTIFICATE OF SERVICE
 2
     I, Joshua F. Hamilton, hereby certify that on this 9th day of August, 2018, I
 3
     electronically transmitted the forgoing documents to the Clerk’s Office using the
 4   CM/ECF System for filing and transmittal of a Notice of Electronic Filing was sent
     to:
 5

 6   The Honorable Rosemary Marquez
 7
     United States District Court

 8   The Honorable Bernardo P. Velasco
 9   United States District Court
10
     Daphne Newaz, Special Assistant
11   United States Attorney’s Office
12
     Stephen Portell
13   Attorney for Defendant Ricardo Gallego
14
     Clay Hernandez
15   Attorney for Defendant Rafael Gallego
16
     Joshua F. Hamilton
17
     Attorney for Defendant Rafael Gallego
18
     By s/Joshua F. Hamilton
19
        JOSHUA F. HAMILTON
20

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